     

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CHRISTOPHER GODSON, on behalf of
himself and all others similarly situated,
No. 11-CV-764(EAW)(HKS)
Plaintiff,
vs. CLASS ACTION
ELTMAN, ELTMAN & COOPER, P.C. and
LVNV FUNDING, LLC,

Defendants.

 

ORDER OF PRELIMINARY APPROVAL OF CLASS ACTION SETTLEMENT

WHEREAS, the Court has been advised that the parties to this action, Plaintiff
Christopher Godson (“Plaintiff” or “Class Representative”), and Eltman, Eltman & Cooper, P.C.
(“Eltman”) and Midland Funding, LLC (“LVNV”) (collectively, “Defendants”), through their
respective counsel, have agreed, subject to Court approval following notice to the settlement
class members and a final approval hearing, to settle the above-captioned action (the “Action”)
upon the terms and conditions set forth in the Settlement Agreement and Release (“Settlement
Agreement”), which has been filed with the Court.

NOW, THEREFORE, based upon the Settlement Agreement, and it appearing to the
Court upon preliminary examination that the Settlement Agreement is fair, reasonable, and
adequate, and a hearing should and will be held after notice to absent settlement class members
to confirm that the proposed settlement is fair, reasonable, and adequate, and to determine

whether a Final Order and Judgment should be entered in this Action.

301900167vl 0929353
301900167v1 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 2 of 7

IT IS HEREBY ORDERED:

l. The Court has jurisdiction over the subject matter of` this Action and over the
parties thereto.

2. In compliance with the Class Action Fairness Act of 2005, 28 U.S.C. § 1715,
Defendants will serve written notice of the proposed class action settlement (“Class Notice”) on
the appropriate state and federal officials

3. .Class Members.. The Court, for the purposes of settlement only, hereby certifies
the following class (the “Class”) with respect to the claims asserted in the Action:

All consumers who, according to Defendant's records, had a New
York address and: (a) within one year prior to the filing of this
action; (b) were sent collection letters bearing Eltman's letterhead in
a form materially identical or substantially similar to the letter sent
to the Plaintiff and attached to the Complaint as Exhibit A; and (c)
which were not returned by the postal service as undelivered.

4. Appointment of Class Representative and Class Counsel.. The Court, in
accordance with Rule 23, hereby certifies Plaintiff as the Class Representative, and appoints
Brian L. Bromberg of the BROMBERG LAW OFFICE, P.C., Kenneth R. Hiller and Seth Andrews of
the LAW OFFICE oF KENNETH HILLER, P.L.L.C., and Jonathan R. Miller of the LAW OFFICE OF
JoNATHAN R. MILLER, PLLC, d/b/a SALEM CoMMUNiTY LAW OFFICE as Class Counsel.

5. Class Certification. The Court finds that the Class satisfies the applicable
prerequisites for class action treatment under Rule 23, namely:

a. The Class members are so numerous that joinder of all of` them is
reasonably impracticable;

b. There are questions of law and fact common to the Class members, which
predominate over any individual questions;

c. The claims of Plaintiff are typical of the claims of the Class members;

301900167vl 0929353
301900167v1 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 3 of 7

d. Plaintiff and Class Counsel will fairly and adequately represent and
protected the interests of all of the Class members; and

e. Class treatment of these claims will be efficient and manageable, thereby
achieving an appreciable measure of judicial economy, and a class action
is superior to the other available methods for a fair an efficient
adjudication of this controversy.

6. The Court finds that the proposed Settlement of the Action, on the terms and
conditions set forth in the Settlement Agreement, appears preliminarily in all respects
fundamentally fair, reasonable, adequate and in the best interest of the Class members, especially
in light of: the benefits to the Class members; the strength of the Plaintiff s case; the complexity,
expense and probable duration of further litigation; the risk and delay inherent in possible
appeals; the risk of collecting any judgment obtained on behalf of the class; and the limited
amount of any potential total recovery for the Class.

7. l_\lgti_c§. The Court approves the form and substance of the Class Notice described
in the Settlement Agreement and attached to the Settlement Agreement as Exhibit B. The
proposed form and method for notifying the Settlement Class members of the settlement and its
terms and conditions meets the requirements of Rule 23(0)(2)(B) and due process, constitutes the
best notice practicable under the circumstances, and shall constitute due and sufficient notice to
all persons and entities entitled to the notice. The Court finds the proposed notice is clearly
designed to advise the Class members of their rights. In accordance with the Settlement
Agreement, the parties are authorized to retain First Class, Inc. as the settlement administrator
(“Settlement Administrator”). Defendants shall provide a final updated list of Class members to

the Settlement Administrator within 30 calendar days of this Order. The Settlement

301900167v1 0929353
301900167v1 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 4 of 7

Administrator shall then cause the completed Class Notices to be mailed to the Settlement Class
members as expeditiously as possible, but no later than June 25, 2018 (“Notice Deadline”).

8. Exclusions. Any Class Member who wishes to be excluded from the class must
send a written request for exclusion to Class Counsel with a postmark date no later than August
27, 2018. To be effective, a Settlement Class member’s written request for exclusion must:

(i) be signed by the Class Member who requests exclusion; (ii) include the full name and address
of the Class Member requesting exclusion; and (iii) include language substantially similar to the
following statement: “I/we request to be excluded from the settlement in the Godson action.”
Any Class member who submits a valid and timely request for exclusion shall not be bound by
the terms of the Settlement Agreement

9. Objections. Any Class member who intends to object to the fairness of this
settlement must file a written objection with the Court, at the U.S. District Court, Western
District of New York, 2 Niagara Square, Buffalo, NY 14202, no later than August 27, 2018 (the
“Objection Deadline”). Further, any such Class member must, within the same time period,
provide a copy of the written objection to Class Counsel, Attention: Brian L. Bromberg, at the
address below. In the objection, the Class member must: (a) attach documents establishing, or
provide information sufficient to allow the Parties to confirm, that the objector is a Class
Member; (b) include a statement of such Class Member’s specific objections; and (c) state the
grounds for objection, as well as identify any documents that such objector desires the Court to
consider.

10. Final Approval. The Court shall conduct a hearing (hereinafter “Settlement

Hearing”) on September 25, 2018, in the courtroom of the Honorable Elizabeth A. Wolford,

301900167v10929353
301900167vi 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 5 of 7

United States District Judge, 2 Niagara Square, Buffalo, NY 14202, commencing at 10:00 a.m.,

to review and rule upon the following issues:

a.

d.

11. No later than September 18, 2018, Class Counsel shall file with the Court any

Whether this action satisfies the applicable prerequisites for class action
treatment for settlement purposes under Rule 23;

Whether the proposed settlement is fundamentally fair, reasonable,
adequate, and in the best interests of the Class members and should be
approved by the Court;

Whether the Final Order and Judgment, as provided under the Settlement
Agreement, should be entered, dismissing the Actions with prejudice and
releasing the Released Claims and the Released Parties; and

To discuss and review any other issues as the Court deems appropriate

memoranda or other materials in support of final approval of the settlement and/or any petition

for attorney fees.

12. This Settlement Agreement and this Order shall be null and void if any of the

following occur:

3..

The Settlement Agreement is terminated by any of the parties, or any
specified condition to the settlement set forth in the Settlement Agreement
is not satisfied and the satisfaction of such condition is not waived in
writing by the parties;

The Court rej ects, in any material aspect, the Final Order and Judgment

substantially in the form and content attached to the Settlement Agreement

301900167v1 0929353

301900167vl 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 6 of 7

and/or the parties fail to consent to the entry of another form of order in
lieu thereof;

c. The Court rejects any component of the Settlement Agreement, including
any amendment thereto approved by the parties; or

d. The Court approves the Settlement Agreement, including any amendment
thereto approved by the Parties, but such approval is reversed on appeal
and such reversal becomes final by the lapse of time or otherwise

13. lf the Settlement Agreement and/or this Order are voided as described in
Paragraph 12 above, then the Settlement Agreement shall be of no force and effect and the
parties’ rights and defenses shall be restored, without prej udice, to their respective positions as if
the Settlement Agreement had never been executed and this Order never entered.

14. Neither this Order nor the Settlement Agreement shall constitute any evidence or
admission of liability by Defendants, or an admission regarding the propriety of any certification
for any class for purposes of litigation, nor shall they be offered in evidence in this or any
proceeding except to consummate or enforce the Settlement Agreement or the terms of this
Order.

15. The Final Approval Hearing is scheduled for September 25 , 2018 at 10:00 in the
Courtroom of the Honorable Elizabeth A. Wolford, United States District Judge, 2 Niagara
Square, Buff`alo, New York 14202.

16. Class Notice shall be mailed by the Settlement Administrator selected by the
paities, First Class, Inc., on or before June 25, 2018.

17. Requests for exclusion from the settlement must be postmarked on or before

August 27, 2018.

301900167v10929353
301900167vi 0929353

Case 1:11-cV-OO764-EAW-HKS Document 232 Filed 05/21/18 Page 7 of 7

18. Objections to the settlement must be postmarked on or before August 27, 2018.

iris so oRDERED this all ‘Eday er /L/{QWK/ ,2018.

  

 

 
  

Elizabeth o or
' tates District Judge

301900167v1 0929353
301900167v1 0929353

